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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


    In re:                                                     Chapter 11

    BOY SCOUTS OF AMERICA AND                                  Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,
                                                               (Jointly Administered)
                             Debtors.1



                         THE OFFICIAL COMMITTEE OF TORT CLAIMANTS’
                           NOTICE OF DEPOSITION OF NORMAN AGUON

                    PLEASE TAKE NOTICE that, pursuant to Federal Rules of Civil Procedure 26 and

30, made applicable to these proceedings by Federal Rules of Bankruptcy Procedure 7026, 7030

ad 9014, the Official Committee of Tort Claimants to Boy Scouts of America and Delaware BSA,

LLC shall take the deposition of Norman Aguon.

             The deposition will take place on March 27, 2022, at 10:00 a.m. (Eastern Time), or at

    such other date and time as the parties may agree. The deposition will be conducted remotely.

             With respect to the conduct of this remote deposition:

                    1.       Counsel for the parties and their clients will be participating from various,
                             separate locations;

                    2.       The court reporter will administer the oath to the witness remotely;

                    3.       Each participating attorney must be visible to all other participants, and
                             their statements will be audible to all participants;

                    4.       All exhibits will be provided simultaneously and electronically to the
                             witness and all participants;

                    5.       The court reporter will record the testimony;


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    The Debtors in these Chapter 11 Cases, together with the last four digits of the Debtors’ respective federal tax
    identification numbers, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The
    Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.

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                  6.         The deposition will be videotaped; and

                  7.         The deposition may be recorded electronically through the use of Realtime
                             or a similar application.



 Dated: March 23, 2022                            PACHULSKI STANG ZIEHL & JONES LLP
 Wilmington, Delaware
                                                  /s/ James E. O’Neill
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                                                  (admitted pro hac vice)
                                                  Alan J. Kornfeld (CA Bar No. 130063)
                                                  (admitted pro hac vice)
                                                  Debra I. Grassgreen (CA 169978)
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                                                  Counsel for the Official Committee of Tort Claimants




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